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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

EPHRIAM LAFATE SMITH,                             §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §    Civil Action No. 3:21-CV-903-L
                                                  §
QUICKEN LOANS and                                 §
JULIE BOOTHE,                                     §
                                                  §
        Defendants.                               §

                                              ORDER

        On April 19, 2021, Plaintiff brought this action against Defendants, alleging a single cause

of action for negligence under state law. Although his Original Petition (“Complaint”) does not

expressly state that he filed this action in federal court based on diversity of citizenship, Plaintiff

has asserted no claims that would support federal question jurisdiction so the court assumes that

subject matter jurisdiction is based on diversity. None of the allegations in Plaintiff’s Complaint

regarding any of the parties in this case, however, are sufficient to support a determination that the

court has jurisdiction over this action based on diversity of citizenship.

        A federal court has an independent duty, at any level of the proceedings, to determine

whether it properly has subject matter jurisdiction over a case. Ruhgras AG v. Marathon Oil Co.,

526 U.S. 574, 583 (1999) (“[S]ubject-matter delineations must be policed by the courts on their

own initiative even at the highest level.”); McDonal v. Abbott Labs., 408 F.3d 177, 182 n.5 (5th

Cir. 2005) (A “federal court may raise subject matter jurisdiction sua sponte.”) (citation omitted).

A federal court has subject matter jurisdiction over civil cases in which the amount in controversy

exceeds $75,000, exclusive of interest and costs, and in which diversity of citizenship exists

between the parties. 28 U.S.C. § 1332. Federal courts are courts of limited jurisdiction and must


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have statutory or constitutional power to adjudicate a claim. Kokkonen v. Guardian Life Ins. Co.,

511 U.S. 375, 377 (1994) (citations omitted); Home Builders Ass’n of Miss., Inc. v. City of

Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). Absent jurisdiction conferred by statute or the

Constitution, they lack the power to adjudicate claims and must dismiss an action if subject matter

jurisdiction is lacking. Id.; Stockman v. Federal Election Comm’n, 138 F.3d 144, 151 (5th Cir.

1998) (citing Veldhoen v. United States Coast Guard, 35 F.3d 222, 225 (5th Cir. 1994)). A federal

court must presume that an action lies outside its limited jurisdiction, and the burden of establishing

that the court has subject matter jurisdiction to entertain an action rests with the party asserting

jurisdiction. Kokkonen, 511 U.S. at 377 (citations omitted). “[S]ubject-matter jurisdiction cannot

be created by waiver or consent.” Howery v. Allstate Ins. Co., 243 F.3d 912, 919 (5th Cir. 2001).

        As the party bringing this action and asserting jurisdiction, Plaintiff has the burden of

establishing that subject matter jurisdiction exists. Diversity of citizenship exists between the

parties only if each plaintiff has a different citizenship from each defendant. Getty Oil Corp. v.

Insurance Co. of N. Am., 841 F.2d 1254, 1258 (5th Cir. 1988). Otherwise stated, 28 U.S.C. § 1332

requires complete diversity of citizenship; that is, a district court cannot exercise jurisdiction if any

plaintiff shares the same citizenship as any defendant. See Corfield v. Dallas Glen Hills LP, 355

F.3d 853, 857 (5th Cir. 2003) (citation omitted). “[T]he basis upon which jurisdiction depends

must be alleged affirmatively and distinctly and cannot be established argumentatively or by mere

inference.” Getty, 841 F.2d at 1259 (citing Illinois Cent. Gulf R.R. Co. v. Pargas, Inc., 706 F.2d

633, 636 n.2 (5th Cir. 1983)). Failure to allege adequately the basis of diversity mandates dismissal

of the action. See Stafford v. Mobil Oil Corp., 945 F.2d 803, 805 (5th Cir. 1991).




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       Plaintiff alleges as follow regarding the parties and jurisdiction:

              2.      Plaintiff, Ephraim Lafate Smith . . . is a natural person and resident
       of Cedar Hill, Dallas County, Texas.

               3.     Defendant Quicken Loans is an Equal Housing Lender, licensed in
       50 states including Texas through Detroit, MI location at 1050 Woodward Ave.
       Detroit, MI 48226 doing business in Wayne County, Michigan. Defendant may be
       served though [its] registered agent The Corporation Company, 40600 Ann Arbor
       Rd. East, Suite 201, Plymouth, MI 48170-4675, or wherever found.

             4.     Defendant Julie Boothe is [the] CFO of Quicken Loans, location at
       1050 Woodward Ave. Detroit, MI 48226 doing business in Wayne County,
       Michigan. Defendant may be served though [its] registered agent The Corporation
       Company, 40600 Ann Arbor Rd. East, Suite 201, Plymouth, MI 48170-4675, or
       wherever found.

               5.      As a direct and/or proximate result of the incident made the basis of
       this lawsuit, Plaintiff incurred damages in the amount within the jurisdictional
       limits of this Court [between $300,000 and $1,000,000], exclusive of costs, pre-
       and post-judgment interest. Therefore, jurisdiction in this Court is proper.

Pl.’s Compl. ¶¶ 4-5 & 6.2

       A natural person is considered a citizen of the state where he or she is domiciled, that is,

where the person has a fixed residence with the intent to remain there indefinitely. See Freeman

v. Northwest Acceptance Corp., 754 F.2d 553, 555-56 (5th Cir. 1985). “‘Citizenship’ and

‘residence’ are not synonymous.” Parker v. Overman, 59 U.S. 137, 141 (1855). “For diversity

purposes, citizenship means domicile; mere residence in [a] [s]tate is not sufficient.” Preston v.

Tenet Healthsystem Mem’l Med. Ctr., Inc., 485 F.3d 793, 799 (5th Cir. 2007) (citation and

quotation marks omitted). “Domicile requires residence in [a] state and an intent to remain in the

state.” Id. at 798 (citing Mississippi Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 48

(1989)).




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         A corporation is a “citizen of every State . . . by which it has been incorporated and of the

State . . . where it has its principal place of business[.]” 28 U.S.C. § 1332(c)(1). In defining or

explaining the meaning of the term “principal place of business,” the Supreme Court has stated:

         We conclude that “principal place of business” is best read as referring to the place
         where a corporation’s officers direct, control, and coordinate the corporation’s
         activities. It is the place that Courts of Appeals have called the corporation’s “nerve
         center.” And in practice it should normally be the place where the corporation
         maintains its headquarters—provided that the headquarters is the actual center of
         direction, control, and coordination, [that is], the “nerve center,” and not simply an
         office where the corporation holds its board meetings (for example, attended by
         directors and officers who have traveled there for the occasion).

Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).

         Plaintiff’s allegations do not satisfy the citizenship requirements for natural persons or

corporations. Without more, Plaintiff’s allegations regarding residency are insufficient to establish

his citizenship, and his Complaint contains no information from which the court can determine

whether he or Julie Boothe is domiciled in Texas or Michigan. Further, to the extent that Quicken

Loans is a corporation, Plaintiff’s allegations do not include Quicken Loans’ state of incorporation

or the location of its principal place of business, and its status as an “Equal Housing Lender” has

no bearing on its citizenship.

         Given these deficiencies, the court cannot determine whether there is complete diversity of

citizenship between Plaintiff and Defendants, and it must presume that this suit lies outside of its

limited jurisdiction unless Plaintiff can cure the jurisdictional deficiencies noted. Pennie v.

Obama, 255 F. Supp. 3d 648, 671 (N.D. Tex. 2017) (quoting Howery, 243 F.3d at 919). Plaintiff

shall, therefore, file an amended complaint that cures the deficiencies noted by July 28, 2021. *




*
  If Plaintiff believes that Quicken Loans is a legal entity other than a corporation—for example a limited liability
company or national bank—he must allege this in his amended complaint and set forth facts relevant to the type of
legal entity alleged.

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Failure to do so will result in the sua sponte dismissal without prejudice of this case for lack of

subject matter jurisdiction, and the court will not extend this deadline.

       It is so ordered this 7th day of July, 2021.




                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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